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FUNCTION = CHANGE CASE SCREEN 4
Case number : 16-C-184 Action Log
BIG MEADOW COMPANY cs VS. OBEERES, A BOOED ics cy cx eves
Line Date Action / Results

1 10/03/16 CIVIL CASE~COMPLAINT-SUNMONS FILED;
2 10/28/16 RETURN OF SERVICE ON JEFF HOOPS ON 10/24/16 FILED;

C=Chg D=Del 1-4=Scr MeMenu ‘TsChg Line# PgUp PgDn P=Prt A=Add I=Image
Case 2:16-cv-11138 Document 1-1 Filed 11/21/16 Page 2 of 28 PagelD #: 6
/o3

SUMMONS

IN THE CIRCUIT COURT OF MINGO COUNTY, WEST VIRGINIA

BIG MEADOW COMPANY, a
a West Virpinia corporation: : =
O
M/M-GHD LANDS, INC., ae
a West Virginia corporation; és
}& S LAND HOLDING, :
LIMITED LIABILITY COMPANY, x

au West Virgima hinited lability c
company; and

OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B;
Plaintiffs. Crvil Action No. 16-c-_\X
(Honorable “Qnom poin> )

Vi.
JEFFREY A, HOOPS, an ...... 00... .c ccc ccc c cee ee epee rest eeeenens 1051 Main Street
individual, Milton, West Virginia 25541

Defendant.

To the above-named Defendant: JEFFREY A. HOOPS

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and
required to serve upon Charles M. Love, IV, plaintiff's attorney, whose address is 405 Capitol
Street, Suite 209, West Virginia, 25301, an answer including any related counterciaim you may
have to the Camplaint filed against you in the above styled civil action, a true copy of which 1s
herewith delivered to you along with a copy of “Plaintiffs” First Set of Interrogatories to
Defendant,” “Plaintiffs” First Set of Requests for Production of Documents to Defendant” and
“Plaintiffs” First Set of Requests for Admissions to Defendant.” You are required to serve your

answer to the Complaint within twenty (20) days after service of this summons upon you, exclusive

EXHIBIT

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of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint and you will be thereafter barred from asserting tn another action
any claim you may have which must be asserted by counterclaim in the above styled civil action.
ihe atiached discovery requests contain ihe information about when and how your responses to

those requests may be made.

Dated: {OLS - Alb

 

Clerk of Court

By: CO, mile £ Udo

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Case 2:16-cv-11138 Document 1-1 Filed 11/21/16 Page 4 of 28 PagelD #: 8

IN THe CIRCLIT COURT OF MINGO COUNTY, WEST VIRGINIA

BIG MEADOW COMPANY,

a West Virginia corporation; 3
M/‘M-GHD LANDS, INC.. 5
a West Virginia corporation: -

C02
J&S LAND HOLDING, o

LIMITED LIABILITY COMPANY,
a West Virginia limited liability

company: and

OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B;

Plaintiffs, Civil Action No. 16-C-_ (a
(Honorable Thomose sd )
JEFFREY A. HOOPS, an
Individual,

Defendant.

COMPLAINT

Plaintiffs Big Meadow Company; M/M-GHD Lands, Inc.; J & S Land Holding, Limited
Liability Company, and Ottaway Trent, Trustee of the Woodrow Trent Estate Trust B (collectively,
“Plaintiffs”), state as follows for its Complaint against Defendant Jeffrey A. Hoops (“Defendant”):

Parties and Jurisdiction

I. Plaintiff Bip Meadow Company is, and was at all times relevant, a West Virginia
corporation with its principal place of business at Post Office Box 748, Lewisburg. West Virginia
2490],

2 Plantif’ M/M-GHD Lands, Inc. is, and was at all times relevant, a West Virginia

corporation with its principal place of business at 202 Welk Court, Summersville, West Virginia

26651.
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3. Plainnff! & S Land Holding. Limited Liability Company ts, and was at all times
relevant, a West Virginia limited liability company with its principal place of business located at
462 Morningside Drive, Princeton, West Virginia 24740,

b. Plaintiff Qtaway Trent. Prustee ei the Woodrow Trent Estate Trust B, is, and was
at all times relevant, a resident of laceger, McDowell County, Wesi Virginia.

5. Upon information and belief, Defendant Jeffrey A. Hoops is, and was at al] times
relevant, a resident of Cabell County, West Virginia with a business address at 1051 Main Street,
Milton, West Virginia 25541.

6. This Court has jurisdiction over Plaintiffs’ claims and venue in this Court is proper
because the leased seams of coal at issue lay in, on. and under Plaintiffs’ property which is located
in Mingo and McDowell Counties, West Virginia. Moreover, per the terms of the Guaranty (as
defined below), the parties hereto have submitted to the jurisdiction of the courts of McDowell
County, West Virginia.

Pactual Background

7. On or about June 20, 2005, Plaintiffs and North Springs Resources, LLC (“North
Springs”) entered into that certain Lease, dated June 20, 2005 (the “lease”), wherein Plaintiffs
leased to North Springs certain seams of coal m, on, and under Plaintiffs’ property located in
Mingo and McDowell Counties, West Virginia. Upon information and belief. Trinity Coal
Partners LLC. a Delaware limited liability company, was, at al] mes relevant hereto, the sole
member of North Springs.

8 Upon information and belief, the Defendant, al all times relevant hereto, owned

fifty percent (80%) of the membership units in Trinity Coal Partners, LLC.
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9, On or about June 30, 2005, Defendant executed and delivered to Plaintiffs that

certain Guaranty, dated June 30, 2005 (the “Guaranty”), pursuant to which Defendant guaranteed

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the performance of all of the obligations of North Springs under the Lease, cluding without
limitation the payment of all sums of money due and owing to Plaintiffs as and when due, in order
to induce Plaintiffs (o execute the Lease and without which guarantee Plaintiffs would not have
executed and delivered the same.

Failure to Pay Advance Minimum Royaliv

10. Under the terms of the Lease, North Springs is obligated to pay to Plaintiffs, as rent
reserved under contract. an advance annual minimum royalty (“Advance Minimum Rovalty”) in
the amount of $65,000.00 in the fifth lease year and each lease year thereafter for the coal, rights
and privileges leased, without regard to the quantity of coal actually mmed. Advance Minimum
Royalty payments continue to accrue at the beginning of each lease year until the expiration of the
[.case.

Hi). Contrary to the terms of the Lease, North Springs has failed to pay Plaintiffs the
Advance Minimum Royalty for the lease years beginning on June 1, 2014, June 1, 2015, and June
1, 2016. As of the date of this filing, the total amount of Advance Minimum Royalty payments
due and owing to Plaintiff ts $195,000.00 (“Minimum Royalties Due”).

he. As required by the terms of the Lease, Plaintiffs notified North Springs of its failure
to pay the Minimum Royalties Due. As of the date of this filing, North Springs has failed to pay
the Minimum Royalty Due and remains in default under the Lease.

ba Plaintiffs notified Defendant that North Springs has failed to pay the Minimum
Royalties Due and demanded payment thereof.

14. Contrary to the terms of the Guaranty, Defendant has failed to pay the Minimum

Rovaliies Duc. and therefore. is in breach of fis contractual obligations under the Guaranty.

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Case 2:16-cv-11138 Document 1-1 Filed 11/21/16 Page 7 of 28 PagelD #: 11

Fatlure to Pay Property laxes

1S, Under the terms of the Lease, North Springs is obligated to pay, or reimburse
Plaintiffs tor the payment of. all taxes assessed by the State of West Virginia upon Plaintiffs’
interests in the seams of coal leased to North Springs, as well aspen the property and all persanal
property and structures affixed thereto.

16, Contrary to the terms of the Lease, North Springs failed to pay, or reimburse
Plaintiffs for the payment of, the property taxes assessed in years 2014, 2015, and 2016. As of the
date of this filing, Plaintiffs have paid a total of $33,666.71 in property taxes, of which North
Springs has failed to re:mburse as required under the Lease (‘Property Tax Due”).

Le As required by the terms of the Lease, Plaintiffs notified North Springs of its failure
lo pay, or in this case rermburse Plaintiffs for the payment of, the property taxes assessed in years
2014, 2015, and 2016. As of the date of this filing, North Springs has failed to pay the Property
Tax Due and remains in default under the Lease.

18. Plaintiffs notified Defendant of North Springs’s failure to reimburse Plaintiffs for
the Property Taxes Due and demanded payment thereof.

ee Contrary to the terms of the Guaranty, Defendant has failed to pay the Property
Taxes Due, and therefore, 1s in breach of his contractual obligations under the Guaranty.

COUNT T
Breach of Contract
20, Plaintiffs reallege each and every allegation set forth in Paragraphs | through 19 of
this Complaint as if set out fully herein.
ml. As a material inducement for Plaintiffs to have entered into the Lease. Defendant

executed and delivered to Plaintiffs that certain Guarantee, whereas Defendant euaranteed all of
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North Springs’s obligations under the Lease, including but not limited to, the payment of the
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Advance Minunum Royalty to Plainufis and payment of all property taxes associated with the
Lease.

Za, Defendant materially breached the Guarantee by failing to pay Plaintiffs the
Advance Minunum Royalty and failing to pay the required property taxes.

23. Plaintiffs fully performed all of their obligations under the Lease.

24, As a foreseeable, direct and proximate result of Defendant’s breach of the
Ciuarantec, Plaintiffs have suffered and will continue to suffer losses and damages.

WHEREFORE, Plaintiffs respectfully request that this Court: (i) find that Defendant is in
breach of the Guaranty; (ii) find that Defendant is liable to Plaintiff pursuant to the terms of the
Guaranty; and (iii) award Plaintiffs judgment against Defendant in the amount of $228,666.71,
plus any and all sums already due and owing or that may accrue from the date of this filing, plus
interest from the date of judgment until paid at the rate prescribed by law on a civil judgment
entered by this Court. Plaintiff further prays that this Court grant unto the Plaintiffs such other

and further relief as it may deem just and proper under the circumstances.

BIG MEADOW COMPANY,

M/M-GHD LANDS, INC.,

J&S LAND HOLDING,

LIMITED LIABILITY COMPANY, and
OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B,
By Counsel,

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( Charles M. Love, IW; Esquire /
West Virginia State Bar No. 1477

The Love Law Firm, PLLC /

405 Capitol Street, Suite 309°
Charleston, West Virginia 2530]
(304) 344-5683

Counsel for Plaintiffs

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Case 2:16-cv-11138 Document 1-1 Filed 11/21/16 Page 9 of 28 PagelD #: 13

IN THE CIRCUIT COURT OF MINGO COUNTY, WEST VIRGINIA
BIG MEADOW COMPANY,
a West Virginia corporation;

ME M-GHD LANTIIS, ENC.,

a West Virginia corporation;

J&S LAND HOLDING,

LIMITED LIABILITY COMPANY,
a West Virginia limited liability

company; and

OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B;

Plaintiffs, Civil Action No, 16-C-
(Honorable _ _

)

JEFFREY A. HOOPS, an
Individual,

Defendant.

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT

Pursuant to Rule 33 of the West Virginia Rules of Civil Procedure, plaintiff
requests that the defendant answer under oath within forty-five (45) days from service
thereof, following Interrogatories:

A, When used in these interrogatories, the term "Defendant" or any synonym
thereof is intended to and shall embrace and include, in addition to each said defendant,
counsel for defendant, and all officers, agents, servants, employees, representatives,
private investigators and others who are in possession of or may have obtained

information for or on behalf of the defendant.
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B. These interrogatories shall be deemed continuing and supplemental answers

shall be required if defendant, directly or indirectly obtains further information of the

nature sought herein bebween the time answers are served and the time of trial.

INTERROGATORIES

 

L. state your name, address, and telephone number; date of birth; driver's

license number and State of issuance; and stale your social security number.

ANSWER:
2. State your address and place of residence for the last ten years.

ANSWER:
3, State whether you have ever been involved in any other legal action either

as a plaintiff or as a defendant. If so, state the date, court name, address and number of
each such action; the name and the names of all parties to this action.
ANSWER.

4, lf there have ever been any criminal charges/convictions against you,
please state the following: the nature of the charge; the court and year in which each
charge was filed; and the resolution of the charge. Additionally, if any such matter is still

pending, state the present status thereof.

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ANSWER:

>. State the name, address and telephone number of each person who has or
who, in your opinion, may have knowledge of any discoverable matters involved in this
suit.

ANSWER:

6. With regard to each said person listed in the preceding Interrogatory, state
whether you or anyone acting on your behalf has obtained a statement from such
witnesses. If so, state for each: the name, address and telephone number of the person
or persons in whose presence the witness made such statement; the time and date when
such statement was made; the name, address and telephone number of any other person
who was present at the time the witness made a statement; whether the statement was
written, oral, recorded or given before a stenographer; and the current custodian of the
statement if it was written, recorded or given before a stenographer.

ANSWER:

/. State the names and addresses of any witnesses, including expert or
rebuttal witnesses, you intend to call as a witness in the trial of this case, and for each
expert witmess also state the subject matter of his/her testimony and the basis of his/her

opinion; and the substance of the facts and opinions to be offered and identify all other
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witnesses (including address and telephone number), or documents which he/she will
rely upon.

ANSWER:

8. Please state all personal assets including, but not limited to, real estate, in

defendant's possession, custody or control.

Q: Do you contend or believe that any other person or other legal entity is
responsible for the damages sustained by plaintiffs, and if so, state: the facts upon which
such contention is based; and whether there was or is any contract, agreement or other
working understanding between you and said person or entity. If documentation of such

agreement exists, state the name and address of the custodian thereof.

10. As to each affirmative defense plead in your answer to plaintiff's complaint,
state and provide each and every fact upon which you base each such defense, stating
further the name, address and telephone number of cach witness who can testify to such
facts; identify all documents of any kind or nature you have in your possession which
would support each such defense; and setting forth the particular statute, rule, regulation
or law which provides a basis for each such defense.

ANSWER:
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é Chatles M. ale IV, Esquire
“West Virginia State Bar No. 7477
‘The Love Law Firm, PLLC
405 Capitol Street, Suite 309
Charleston, West Virginia 25301
(304) 344-5683
Counsel for Plaintiffs
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RIG MEADOW COMPARY,

M/M-GHD LANDS, INC.,

JT&SLAND HOLDING,

TiMTTED LIABILITY COMPANY, and
OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B,

By Counsel,
Case 2:16-cv-11138: Document 1-1 Filed 11/21/16 Page 14 of 28 PagelD #: 18

IN THE CIRCUIT COURT OF MINGO COUNTY, WEST VIRGINIA
BIG MEADOW COMPANY,
a West Virginia corporation;

NUM-GHD LANDS, ING...

a West Virginia corporation;

J&S LAND HOLDING,

LIMITED LIABILITY COMPANY,
a Wesi Virginia limited lability

company: and

OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B:

Plaintiffs, Civil Action No, 16-C-
(Honorable

—__....)

Vv.

JEFFREY A. HOOPS, an
Individual,

Defendant.

PLAINTIFF'S REQUESTS FOR PRODUCTION
OF DOCUMENTS TO DEFENDANT

Pursuant to Rule 34 of the West Virginia Rules of Civil Procedure, the plaintiff
requests that the defendant produce for the purpose of inspection and copying on or
before forty-five (45) days from the date of service hereof, at The Love Law Firm, PLLC
405 Capitol Street, Charleston, West Virginia, the documents requested below:

ff you object to any request to produce, or subpart thereof, asserting
relevancy, privilege or immunity as grounds, then as to each document objected to please

provide the following information:
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a. The name of the document;

b. lhe date of the document;

C. The name of the person form whom the document was prepared;

d. The names of all persons provided with the documents or a copy thereof;
and,

e, The subject matter of the document and a description of the subject matter

of the document sufficient to allow the court to rule on a motion to com pel,

nN

The term "document" shall mean any written, printed typed, recorded,
computerized or graphic matter, however produced or reproduced, whether by draft or
final, original or reproduction, in your possession, custody, or control, or in the
possession, custody or control of any of your attorneys, employees, investigators,
consultants, or other persons or business entities acting in or on your behalf. "Document"
or "documents" shall include, but not limited to, correspondence, memorandum, notes,
desk or other calendar, diaries, statistics, letters, telegrams, minutes, contracts, reports,
studies, checks, invoices, statements, charts, ledgers, drawings, receipts, returns,
warranties, guarantees, summaries, pamphlets, books, prospectuses, interoffice and
intra-office communications, offer, notations of any sort of conversations, telephone calls,
meetings or other communications, bulletins, magazines, publications, printed matter,
photographs, computer printouts, teletypes, telefax, invoices, worksheets, and all drafts,
alterations, modifications, changes and amendments of any of the foregoing, tapes, tap
recordings, films, transcripts, graphic or aural records or representations of any kind, of
which you have knowledge or which are now or were formerly in your actual or

constructive possession, custody, or control. In addition, it includes any and all of the

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above which may be stored on computer or computer discs, including memos and
records prepared, stored and/or retrievable by electronic means, including computer “e-
mail, and other electronically recorded memos. Also produce al] type-recorded and
video-taped recorded meetings and conversations concerning any of the above
documents. If summaries of data have been prepared by you of data, studies or reports,
produce the summaries or tables,

3. The term "possession, custody or control" includes the joint and several
possession, custody or contro! not only by the person to whom these interrogatories and
requests are addressed, but also the joint or several possession, custody, or control by
each or any other person acting or purporting to act on behalf of the person, whether as
an employee, attorney, accountant, agent, sponsor, spokesman or otherwise.

REQUESTS

1. Please produce copies of any reports, memorandum, e-mails, letters or
other documents which contain any opinions held by any experts you have retained.
RESPONSE:

2 Please produce copies of each and every document of any kind or nature
you may use, rely upon, question or introduce at trial, including expected use as rebuttal
evidence,

RESPONSE:

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3, As to each affirmative defense you allege in your answer to plaintiff's
complaint, produce each and every document, of any kind or nature which you feel
provides a basis for each defense.

RESPONSE:

4. Please produce copies of documents which describe any personal assets
including, but not limited to real estate, in the possession, custody or contro] of

defendant.

5. Any documents identified by you or otherwise utilized by you in
answering plaintiff's interrogatories.

RESPONSE:

6. Any documents which verify or otherwise support any of your answers to
plaintiff's interrogatories.

7. Any and all correspondence between you and any of the plaintiffs.

RESPONSE:
Case 2:16-cv-11138 Documenti1-1 Filed 11/21/16 Page 18 of 28 PagelID #: 22

8. Any and all correspondence between you and any other entity you believe

is responsible for the payment of the debt to the plaintiffs.

RESPONSE:

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f Cc harles M. Love, IV, ] Esqu re
West Virginia State Bar No. 7477
The Love Law Firm, PLLC
405 Capitol Street, Suite 309
Charleston, West Virginia 25301
(304) 344-5683

Counsel for Plaintiffs
SAS 0033 DUD ocx

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BIG MEADOW COMPANY,

M/M-GHD LANDS, INC.,

f&SLAND HOLDING,

LIMITED LIABILITY COMPANY, and
OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B,

By Counsel,
Case 2:16-cv-11138 Documenti1-1 Filed 11/21/16 Page 19 of 28 PagelD #: 23

IN THE CIRCULEL COURT OF MINGO COUNTY, WEST VIRGINIA

BIG MEADOW COMPANY,
a West Virginia corporation;

M/M-GHD LANDS, ING.
a West Virginia corporation,

1&S LAND HOLDING,

LIMITED LIABILITY COMPANY.
4 West Virginia limited liability
company: and

OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B:

Plaintiffs. Civil Action No. 16-C-
(Honorable __ eo

)

Vv.

JEFFREY A. HOOPS, an
Individual,

Defendant.

PLAINTIFE’S FIRST SET OF REQUESTS FOR ADMISSIONS
TO DEFENDANT

 

Pursuant to Rule 36 of the West Virginia Rules of Civil Procedure, plaintiffs, Big

Meadow Company, M/M-GHD | ands, Inc., }&S Land Holding, LL<, and Ottaway frent,
request that defendant, Jeffrey A. Hoops answer the following recquests for admissions,
the answers ON the

separately and fully, in writing and uncer oath, and serve

undersigned on or before forty-five (45) days from service of these requests.
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INSTRUCTIONS

1. Pursuant to Rule 36 of the West Virginia Rules of Civil Procedure, the
matters set forth below will be admitted unless, within 30 days after being served, the
Defendant serves written answers or objections addressing these matters.

2. If a matter is not admitted the answer must specifically deny it or state in
detail why the Defendant cannot admit or deny it,

3. A denial must fairly respond to the substance of the matter; and when good
faith requires that a party qualify an answer or deny only part of a matter, the answer
must specify the part omitted or qualify or deny the rest.

4, The Defendant may assert lack of knowledge or information as a reason for
failing to admit or deny only if it states that it has made a reasonable injury and that the
information it knows or can readily obtain is insufficient to enable it to either admit or
deny.

5, The grounds for objecting to a request must be stated. The Defendant must
not object solely on the ground that the request presents a genuine issue for trial.

REQUEST FOR ADMISSIONS

 

, Please admit that the copy of the “Guaranty” attached hereto as Exhibit 1 is
a true and accurate copy of your guarantee to the plaintiffs in this matter.

ANSWER:

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Case 2:16-cv-11138 Document1-1 Filed 11/21/16 Page 21 of 28 PagelD #: 25

   

| Charles M. Love, IV, Esquire
West Virginia State Bar No. 7477

‘The Love Law Firm, PLLC

405 Capitol Street, Suite 309

Charleston, West Virginia 25301

(304) 344-5683

Counsel for Plaintiffs

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BIG MEADOW COMPANY,
M/M-GHD LANDS, INC.,

} & SLAND HOLDING,

LIMITED LIABILITY COMPANY, and
OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B,

By Counsel,
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UARANTY SO Ne

The undersigned, JEFFREY A. HOOPS (“Guarantor’), hereby represents, warrants
to and agrees with M/W-GHD LANDS, INC., a West Virginia Corporation, J & S LAND
HOLDING, LLC, a West Virginia Limited Liability Company, BIG MEADOW COMPANY,
a West Virginia Corporation, and OTTAWAY TRENT, as Trustee in the Last Will and
Testament of Woodrow Trent, deceased, all of which are lessors under that certain Coal
Lease dated June 20, 2005 with NORTH SPRINGS RESOURCES, LLC, (the “Lease’),
as follows:

1. North Springs Resources, LLC (“Lessee”), the lessee under the Lease, is a
limited liability company created under the laws of the State of West Virginia,

2. Trinity Coal Partners LLC (“Trinity”), a Delaware limited liability company, is the
sale member of Lessee, and is qualified to do business in the State of West Virginia.

3. Guarantor is a member of Trinity, owning fifty per cent (50%) of the membership
units thereof.

4. Lessee has full power and authority to enter into the Lease and to execute and
deliver the same, and to incur and perform the obligations provided for therein. The
execution and delivery of the Lease, and performance thereof by Lessee have been duly
authorized by Lessee and no consent or approval of any public authority or third party is
required other than as set forth in the Lease.

S. Guarantor has agreed to guarantee the performance of all of the obligations of
Lessee under the Lease, including without limitation the payment of all sums of money due
and owing to Lessor as and when due (the “Obligations”), in order to induce Lessor to

execute and deliver the Lease and without which guarantee Lessor would not have

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executed and delivered the same.

6. (a) Guarantor unconditionally and irrevocably guarantees to Lessor the full,
faithful and complete performance of any and all Obligations as and when due. This
Guaranty shall remain in full force and effect as long as there are unsatisfied Obligations.
it shall not be necessary to the enforcement of any of the obligations of Guarantor
hereunder that any rights or remedies of Lessor against Lessee, its permitted successors,
transferees, or assigns, if any, be pursued, except for appropriate notices and opportunity
to cure as set forth in the Lease.

(b) The obligations of Guarantor hereunder shall be absolute, continuing and
unconditional, and shall remain in full force and effect without regard to, and shall not be
released, discharged, or in any way affected by (i) any extension, amendment,
supplement, modification, sublease, assignment, or other transfer of the Lease, in whole,
or in part, or by operation of law or otherwise, whether or not consented to by Lessor; (ii)
the sale or transfer by operation of law or otherwise, of all or any part of the membership
units of Lessee or Trinity; (ili) any merger, combination, consolidation or reorganization of
any kind of Lessee or Trinity; (iv) any exercise or non-exercise of or delay in exercising any
right, remedy, power or privilege under or in respect of this Guaranty or the Lease or any
waiver, conseni, extension, indulgence or other action or inaction in respect of either
thereof; (v) any bankruptcy, insolvency, atrangement, compromise, assignment for the
benefit of creditors or similar proceedings commenced by or against Lessee or Trinity, or
thelr respective successors or assigns; (vi) any defense that may arise by reason of the

failure of Lessor to file or enforce a claim against the estate of Lessee or Trinity, or their
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respective successors or assigns, in any bankruptcy or other proceeding; (vil) the voluntary
or involuntary liquidation, dissolution, sale of all or substantially all of the property of Lessee
or Trinity, or their respective successors or assigns, or the marshaling of assets and
liabilities or other similar proceeding affecting Lessee or Trinity, or their respective
successors or assigns; (vili) the making of a demand, or absence of demand, for payment
oi performance of the Obligations or giving, or failing to give, any notice of dishonor or
protest or other notice (except as set forth in the Lease); or (ix) any other circumstances
which might constitute a legal or equitable discharge of a guarantor, whether similar or
dissimilar to any of the foregoing, other than irrevocable satisfaction of the Obligations.
Guarantor unconditionally and irrevocably waives each and every defense which, under
principles of guaranty or suretyship law, would operate to impair, diminish or in any way
affect the liability of Guarantor hereunder.

(c) The validity or unenforceability of any one or more of the provisions of this
Guaranty shall not impair or affect the validity and enforceability of any of the other
provisions of this Guaranty,

7. Ajlnotices, requests, demands and other cormmunications which are required or
may be delivered under this Guaranty shall be in writing and shall be deemed to have been
given (a) when received if personally delivered, (b) when delivered if sent by nationally
recognized overnight delivery service, and (c) upon receipt, if accepted, or attempted
delivery if not accepted, if sent by certified or registered mail, return receipt requested. In

each such case, the notice, request, demand, and other communication shall be sent:
Case 2:16-cv-11138 Document 1-1 Filed 11/21/16 Page 26 of 28 PagelD #: 30

To Guarantor, addressed to:
Jeffrey A. Hoops.

1051 Main Street, Suite 1000

Milton, WV 25541

Fax #: (304) 743-8618
E-Mail:jnhoops4379@aol.com

8. This Guaranty shall be binding upon the heirs, successors and assigris of
Guarantor and shall inure te the benefit of the heirs, successors and assigns (as applicable)
of the parties comprising Lessor.

9. This Guaranty shall be governed by, and construed in accordance with, the laws
of the State of West Virginia. Any litigation based on, arising out of, under, orin connection
with this Guaranty shall be brought in the Courts of Mingo County, West Virginia, or the
United States District Court for the Southern District of West Virginia. Guarantor hereby
expressly and irrevocably submits to the jurisdiction of the Courts of Mingo County, West
Virginia and of the United States District Court for the Southern District of West Virginia for
the purpose of such litigation and irrevocably agrees to be bound by any judgment
rendered thereby in connection with such litigation. Guarantor hereby expressly and
irrevocably waives, to the fullest extent permitted by law, any objection which it may have
to the venue of any such litigation brought in any Court referred to above any claim that any

such litigation has been brought in an inconvenient forum.

IN WITNESS WHEREOF, Guarantor has signed this Guaranty as of this Say day

of  —Teeage , 2005.

 

 
Case 2:16-cv-11138 Documenti1-1 Filed 11/21/16 Page 27 of 28 PagelD #: 31

STATE OF WEST VIRGINIA
county of _Cacbe ||. to-wit:

The foregoing instrument was acknowledged before me this _ 20 day of

 

 

   

SI, 2005, by Jeffrey A. Hoops.
My commission expires Sone YO, O0| | ;
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et ph SCAR HOOPS ry Public
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Case 2:16-cv-11138 Document1-1 Filed 11/21/16 Page 28 of 28 PagelD #: 32

IN THE CIRCUIT COURT OF MINGO COUNTY, WEST VIRGINIA
Bld; MEADOW COMPANY,
a West Virginia corporation:

M)M-GHD LANDS, INC,
a West Virginia corporation:

J&S LAND HOLDING,

LIMITED LIABILITY COMPANY,
a West Virginia limited lability
company; and

OTTAWAY TRENT, Trustee of the
WOODROW TRENT ESTATE TRUST B;

Plaintiffs, Civil Action No. 16-C- Ie
(Honorable Thine sso.)

Vv.

JEFFREY A. HOOPS, an
Individual,

Defendant.

CERTIFICATE OF SERVICE
1, Charles M. Love, [V, counsel] for plaintiffs, do hereby certify that a true and exact copy
of the foregoing “Plaintiffs” First Set of Interrogatories to Defendant.” “Plaintiffs” First Set of
Requests for Production of Documents to Defendant” and ‘Plaintiffs’ First Set of Requests for
Admissions to Defendant” were placed with the Summons and Complaint in the above styled
action, and will be served upon the defendant with the Summons and Complaini im accordance

with the West Virginia Rules of Civil Procedure, this 29" day of September, 2016.

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“ b- Fig, ie OO. a Leg Yo

( __Charles M. Lowe, IV, Esquire 4
~ West Virginia State Bar No. 7477

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